                   Case: 24-8044
                   UNITED  STATES Document:
                                  COURT OF50   Page: FOR
                                            APPEALS  1   Date
                                                         THE Filed:
                                                              THIRD 12/12/2024
                                                                      CIRCUIT

                                                   No. 24-8044 and 24-8045

                       Atlas Data Privacy Corporation, et al   vs.   Blackbaud Inc., et al.


                                               ENTRY OF APPEARANCE

 Please list the names of all parties represented, using additional sheet( s) if necessary:

 LexisNexis Risk Data Management, LLC and RELX Inc.

Indicate the party's role IN THIS COURT (check only one):

         JZ1 Petitioner(s)               0 Appellant(s)                        0 Intervenor(s)
         0 Respondent(s)                 0 Appellee(s)                         0 Amicus Curiae
(Type or Print) Counsel's Name Rasmeet K. Chahil
                                    -----.□
                                        --M-r.--lli-
                                                  ✓
                                                  ----M-s-.               -u--..------M-r_s__------.□
                                                                                                    --M-is-s------,LJ-.----M-x-.-



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SIGNATURE OF COUNSEL: s/ Rasmeet K. Chahil
                                            -------------------------
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PROPERLY COMPLETED APPLICATION FOR ADMISSION MAY FILE AN APPEARANCE FORM.

A non-government attorney who is not currently in active status will be required to file the Attorney
Admission Renewal /Adjustment of Status Form in order to proceed with the case. Bar admission is
waived for Federal and Virgin Island government attorneys.

REV. 10/20/2020
